                      Case 1:20-mj-00103-RMM Document 1 Filed 06/04/20 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                MICAH EUGENE AVERY, JR.                             )
                DOB: xx/xx/xxxx-PDID: xxx-xxx                       )
                                                                    )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 30, 2020                in the county of             Washington           in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 231(a)(3)                              did obstruct, impede, and interfere with a law enforcement officer performing his
18 U.S.C. § 1361                                   official duties during the course of a civil disorder; did willfully injure or commit
18 U.S.C. § 111(a)(1)                              depradation on property of the United States causing damage in excess of
                                                   $1,000; and did forcibly assault, resist, oppose, impede, intimidate, or interfere
                                                   with a federal officer while engaged in or on account of the performance of his
                                                   official duties.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                 CARL R. HOLMBERG, Detective Sgt., USPP
                                                                                                Printed name and title

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E\7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

Date:             06/04/2020
                                                                                                  Judge’s signature

City and state:                           Washington, DC                     ROBIN M. MERIWEATHER, U.S. Magistrate Judge
                                                                                                Printed name and title




        Print                        Save As...                  Attach                                                  Reset
